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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF WYOMING


 AMERICAN FARM BUREAU                )     Case No. 1:24-cv-136-ABJ
 FEDERATION, et al.,                 )     Honorable Alan B. Johnson
                                     )
 Plaintiffs,                         )
                                     )     DEFENDANTS’ UNOPPOSED
  v.                                 )     MOTION TO TRANSFER
                                     )
 U.S. DEPARTMENT OF THE              )
 INTERIOR, et al.,                   )
                                     )
 Defendants.                         )
 ___________________________________ )
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       Defendants the U.S. Department of the Interior et al. respectfully move pursuant to 28

U.S.C. § 1404(a) to transfer this case to the U.S. District Court for the District of Utah. This is

the third of four cases challenging the U.S. Bureau of Land Management’s (“BLM”) issuance of

the Conservation and Landscape Health Final Rule, 89 Fed. Reg. 40,308 (May 9, 2024) (the

“Rule” or “Public Lands Rule”). At the time this case was filed, multiple states, including the

State of Wyoming, filed suits in other venues, namely, the District of Utah and the District of

North Dakota. Subsequently, the State of Alaska filed suit in the District of Alaska. Transferring

this case to the District of Utah serves the interest of justice by promoting judicial economy and

avoiding the potential for conflicting judgments. The motion should be granted for all of the

grounds set forth in Defendants’ accompanying memorandum of points and authorities in support

of the motion.

       Defendants’ counsel has conferred with Plaintiffs’ counsel regarding this motion, and

Plaintiffs do not oppose this motion and consent to the transfer of this case to the District of Utah

so that it may be consolidated (either formally or informally) with the pending case filed by the

States of Utah and Wyoming. Defendants and Plaintiffs request that this motion be resolved

expeditiously so that this case may be heard on the same schedule as the case filed by Utah and

Wyoming. In that case, Defendants anticipate that the case will proceed to merits briefing after

the administrative record is filed in mid-October. Plaintiffs intend to file a short response to this

motion memorializing their reasons for consenting to the requested transfer of the case to the

District of Utah.




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Respectfully submitted this 5th day of September 2024,

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